Case 2:23-cv-02291-BMS Document6 Filed 07/06/23 Page 1 of 2

IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF PENNSYLVANIA

JAMES COPPEDGE,

Plaintiff, : CIVIL ACTION
: NO. 23-2291
Vv.
CITY OF PHILADELPHIA,
Defendant.
ORDER

AND NOW, this 6th day of July 2023, it is ORDERED that:

1. The Clerk of Court shall STRIKE Plaintiff James Coppedge’s Complaint (ECF 1)
because it does not comply with Rule 8 of the Federal Rules of Civil Procedure;!

2. Coppedge shall file an Amended Complaint on or before Friday, July 28, 2022. If he
does not do so, his case may be dismissed without prejudice for failure to prosecute; and

3. Because there is no operative pleading until Coppedge files an Amended Complaint,
his Motion which seeks to contest “Double Book Entries with threat of Water Shut Offs” because of

an alleged “former payment through US Treasury” (ECF 3) is DENIED without prejudice.

Berle M. Schiller, J.

' Pro se litigants like Coppedge “must abide by the same rules that apply to all other litigants.”
Mala v. Crown Bay Marina, Inc., 704 F.3d 239, 245 (3d Cir. 2013). This Court “and other federal
courts are funded by the taxpayers of this country to adjudicate genuine disputes, not to function as
playgrounds for would-be lawyers... .” Scotto v. Credit Suisse, No. 22-1176, 2022 WL 1320391, at
*3 (E.D. Pa. May 3, 2022) (citation and internal quotation omitted). Nevertheless, Coppedge has a
history of noncompliance with the Federal Rules of Civil Procedure. See, e.g., Coppedge v. US Bank
Nat'l Ass'n, No. 12-00051, 2014 WL 3828384, at *4 (D. Del. July 30, 2014) (finding, inter alia, that
Coppedge “had not properly served the Defendant,” under Rule 4(m) and that he “did not make an
effort to remedy the error”); Coppedge v. Deutsche Bank Nat. Tr. Co., No. 12-3268, 2013 WL
1827584, at *3 (E.D. Pa. May 1, 2013) (denying leave to amend because Coppedge’s “pleadings d[id]
not include any allegations suggesting that Coppedge could conceivably establish subject matter
Case 2:23-cv-02291-BMS Document6 Filed 07/06/23 Page 2 of 2

jurisdiction or a claim upon which relief could be granted”); Coppedge v. Litzkow, No. 09-787 (GMS),
2010 WL 11711837, at *3 (D. Del. June 17, 2010) (“Given his dismissive attitude towards court rules
and orders in the past, the court finds it unlikely that further warnings will deter him in the future.”).

The Court strikes Coppedge’s 48-page Complaint (ECF 1) because it does not contain “a short
and plain statement of the claim” showing he is entitled to relief. Fed. R. Civ. P. 8(a)(2). Rule 8 also
requires that each averment be “simple, concise, and direct.” Fed. R. Civ. P. 8(d)(1). “Taken together,
Rules 8(a)(2) and 8(d)(1) “underscore the emphasis placed on clarity and brevity by the federal
pleading rules.” In re Westinghouse Sec. Litig., 90 F.3d 696, 702 (3d Cir. 1996). “While a court should
liberally construe the pleadings of a pro se plaintiff, the complaint must still comply with the pleading
requirements of Rule 8.” Prelle v. United States ex rel. Prelle, No. 22-1453, 2022 WL 16958896, at
*1 (3d Cir. Nov. 16, 2022) (citing Mala, 704 F.3d at 245). “[A] pleading that is so ‘vague or
ambiguous’ that a defendant cannot reasonably be expected to respond to it does not satisfy Rule 8.”
Garrett v. Wexford Health, 938 F.3d 69, 93 (3d Cir. 2019).

Coppedge’s Complaint seeks $5 million in damages “FOR LAW BREAKING NOT TO
MENTION Postal Violations and Mail Fraud... .” (ECF 1 at ECF p. 4.) It attaches correspondence
apparently sent to the City of Philadelphia’s “Water Revenue Bureau” purporting to claim his debts
“have been paid and settled in full by the United States Treasury” as his “fiduciary ... .” (id. at ECF
p. 16.) He cites “HJR-192 Public Law 73-10 (48) STAT. 112-113, 15 USC Sect. 1692e in
consideration of the U.S. Constitution Art. 1, Sec. 10” as the basis for the Court’s jurisdiction. (/d. at
ECF p. 1.) The Third Circuit has characterized the claims it appears he seeks to raise as “being brought
pursuant to the ‘Redemptionist’ theory.” Coppedge v. PNC Bank, No. 18-2123, 2018 WL 10811876,
at *1 (E.D. Pa. Nov. 21, 2018) (citing Monroe v. Beard, 536 F.3d 198, 203 n.4 (3d Cir. 2008)). Such
claims are “equal parts revisionist legal history and conspiracy theory.” Bryant v. Wash. Mut. Bank,
524 F. Supp. 2d 753, 759 & n.9 (W.D. Va. 2007); see also McLaughlin v. CitiMortgage, Inc., 726 F.
Supp. 2d 201, 214 (D. Conn. 2010) (collecting cases that “universally and emphatically” reject claims
under the Redemptionist theory). In essence, Coppedge appears to present “nothing more than an
indefensible tactic used by debtors attempting to avoid repayment of their debts,” a tactic he has
attempted to deploy before without success. Coppedge v. PNC Bank, 2018 WL 10811876, at *1.

While Coppedge may amend his Complaint to comply with this Order, the Court will not grant
further leave to amend if he persists in filing pleadings that seek relief under the Redemptionist theory.
See Grayson v. Mayview State Hosp., 293 F.3d 103, 108, 110 (3d Cir. 2002) (stating that leave to
amend should be granted sua sponte unless amendment would be “inequitable or futile”). Moreover,
if Coppedge fails to comply with this Order, this Court, may exercise its inherent power to place
reasonable restrictions on his future ability to file. The All Writs Act, 28 U.S.C. § 1651(a), allows a
district court to enjoin “abusive, groundless, and vexatious litigation.” Brow v. Farrelly, 994 F.2d
1027, 1038 (3d Cir. 1993). Filings that are not responsive to Court directives may be construed as an
abuse of the judicial process and may result in the imposition of a filing injunction or other appropriate
restrictions on Coppedge’s access to filing. See Chambers v. NASCO, Inc., 501 U.S. 32, 44-45 (1991)
(holding that federal courts have the inherent power to “fashion an appropriate sanction for conduct
which abuses the judicial process”).
